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UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT CV 1p 1:53
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IN THE MATTER OF THE COMPLAINT gurt
of mee) ON FROM OR
_ LIMITATION OF LIABILITY ec
BARRY STERNLICHT, as owner of vessel M/V ‘ We
BLUEFIN for Exoneration Bilfev (oF Ww

from or Limitation of Liability,

Petitioner.

BARRY STERNLICHT (hereinafter “Petitioner”), by his attorneys, LAW OFFICES
OF CYNTHIA M. GARRATY, for his Compiaint seeking Exoneration from or Limitation
of Liability, alleges, upon information and belief, as follows:

1. This is a proceeding for Exoneration from or Limitation of Liability pursuant
to 46 U.S.C.§ 30501, ef. seq., involving admiralty and maritime claims within the
meaning of Rule 9(h) of the Federal Rules of Civil Procedure, and Rule “F” of the
Supplemental Rules for Certain Admiralty and Maritime Claims, as hereinafter more
fully appears.

2. Petitioner, Barry Sternlicht, resides at 147 Round Hill Road, Greenwich,
CT 068374.

3. Petitioner is the owner of the vessel M/V BLUEFIN, a 2005 28-foot Pursuit
Center Console (hereinafter referred to as the “Vessel’).

4. On August 7, 2010, upon information and belief, Wilkie Bushby was the
operator of a 1982 19-foot LEMA motorboat in which Brayton Bushby and Hans Kaiswer
were passengers.

5. James Sterlicht was the operator of the vessel owned by Barry Sternlicht.
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6. Both vessels were operating in navigable waters off the shore of
Nantucket, Massachusetts when the Sternlicht vessel collided with the Bushby vessel.

7. Wilkie Bushby and Brayton Bushby notified St. Paul Fire and Marine
Insurance Company that they were bringing claims on or about August 18, 2010.

8. Petitioner asserts that claims have been made in connection with this
incident, in amounts which may exceed Petitioner's interest in the Vessel.

9, Any claim or claims were not due to any fault, neglect, or want of care on
the part of Petitioner, or the Vessel, and occurred without Petitioner's privity or
knowledge.

10. The Petitioner’s vessel is valued at $120,000 (Exhibit A).

41. Petitioner, pursuant to Supplementary Rules F of the Federal Rules of
Civil Procedure, offers an Ad interim Security in the amount of $120,000, said amount
being not less than the value of Petitioner’s interest in the Vessel at the time of the
incident and there being no pending freight. (Exhibit B, Ad Interim Security).

42. Venue in this district is proper as the Petitioner resides in this district and
suit have been brought in Connecticut, Wilkie Bushby v. James Sterniicht, et. al.,
Judicial District of Stamford at Stamford, FST-CV10-6007611S.

43. Petitioner is entitled to Exoneration from liability for any claims arising from
the accident and from any and all claims that have been or may hereafter be made, and
Petitioner alleges that he has valid defenses thereto on the facts and law.

14. Petitioner claims, in the alternative, the benefit of Limitation of Liability
provided by 46 U.S.C. § 30505, ef. seq. and the various statutes supplementary thereto

and amendatory thereof.
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45. Petitioner has provided security herewith in the form of an Ad Interim
Security sufficient to cover his interest in the Vessel with surety ("Ad Interim Security”)
for the payment into Court, whenever the same shall be ordered, as provided for by the
aforesaid statute and by Rule F of the Supplemental Rules For Certain Admiralty and
Maritime Claims of the Federal Rules of Civil Procedure and by the rules and practices
of this Court.

WHEREFORE, Petitioner prays:

(1) That this Court adjudge that Petitioner is not liable for any loss, injury, or

damage arising out of the accident; or,

(2) _ If Petitioner is adjudged liable, that such liability be limited to the value of

his interest in the Vessel in the maximum amount of $120,000 and that
Petitioner be discharged therefrom upon the surrender of such interest,
and that the money surrendered, paid or secured as aforesaid, to be
divided pro-rata according to the above-mentioned statutes among such
claimants as may duly prove their claim, saving to all parties any priorities
to which they may be legally entitled, and that a decree may be entered
discharging Petitioner from all further liability.

(3) ~ That this Court issue an order to include the following:

a. Directing the issuance of Notice to all persons asserting claims with
respect to the accident, which this Complaint seeks Exoneration from
Liability or Limitation of Liability to file their respective claims with the
Clerk of the Court and to serve on Petitioner's undersigned counsel a

copy thereof on or before a date to be named in the Notice.
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(4)

b. Directing Petitioner to file an Ad interim Security as security for the

benefit of any and all Claimants, in the amount of Petitioner's interest
in the Vessel as of the date of the accident, $120,000, with interest at a
rate of 6% per annum from the date of said security or whenever the
Court shail so order.

c. Directing that upon Petitioner's filing of an Ad Interim Security, an
injunction shall issue enjoining the prosecution against Petitioner, his
representatives, insurers, and the Vessel, of any and ali claims, suits,
actions or proceedings whether or not already begun, with respect to
the incident, except in this proceeding.

That Petitioner may have such other and further relief as the justice of the

case may require.
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Dated: January 19, 2011

Attorneys for Petitioner
BARRY STERNLICHT
as owner of M/V BLUEFIN

By: CSI 8R
Cynthia M. Garraty, Esq.

Law Offices of Cynthia M. Ge

Crossroad Corporate Park

6 Devine Street

North Haven, CT 06473

Phone: (203) 407-6000

Fax: (203) 407-6099

E-mail: cemgarrat@travelers.com

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_ Exhibit A
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Exhibit B
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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT CV

IN THE MATTER OF THE COMPLAINT
of AD INTERIM SECURITY
BARRY STERNLICHT, as owner of vessel M/V
BLUEFIN for Exoneration
- from or Limitation of Liability,

Petitioner.

WHEREAS, Petitioner, BARRY STERNLICHT as owner of the M/V BLUEFIN, 2
2005 28-foot Pursuit Center Console motor vessel {the "Vessel" is instituting a
proceeding in this Court for Exoneration from or Limitation of Liability in respect to the
claim for personal injuries asserted or to be asserted in connection with an accident
which is alleged to have occurred on navigable waters off of Nantucket, Massachusetts
on August 7, 2010, and;

WHEREAS, the Petitioner wishes to provide this Ad interim Securify in the
amount of the value of the Vessel as the security for any and all claims arising from the
accident.

WHEREAS, the value of Petitioner's interest in the Vessel described above has

been fixed at $120,000 as appears in Exhibit A to the Cornplaint fited herein;
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NOW, THEREFORE, in consideration of the premises, St. Paul Fire & Marine
insurance Company, insurer of a Boat Policy pertaining to the Vessel, having an office
and place of business at 306 Windsor Street, Hartford, Connecticut hereby undertakes
In the sum of $120,000 with interest thereon at the rate of 6% per annum from the date
hereof. If this security is contested, then within thirty (30) days after entry of an Order

. confirming the report of an independent marine surveyor appointed by the Court to
appraise the value of the Vessel, St. Paul Fire & Marine Insurance Company will file in

_ this proceeding a revised Ad interim Security conforming fo such appraised value up to
the insurance limits of liability in its Boat Policy and in the interim, this Ad inferim
Security shall stand as security for all Claims filed in said limitation proceeding;

FURTHERMORE, solely for the limited purposes of any suit based upon this Ad
Interim Security, St. Paul Fire & Marine Insurance Company hereby submits itself to the
jurisdiction of this Court and designates, LAW OFFICES OF CYNTHIA M. GARRATY its
agents for service of process, and St. Paul Fire & Marine Insurance Company agrees,
together with the Petitioner, to pay the amount awarded by the final decree rendered by
this Court, or an Appellate Court ian appeal intervenes, up to the principal ammount of

this security, with interest as aforesaid, unless the value of the Vessel shall have been

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paid into Court or a bond or revised Ad Interim Security thereof shall have been given
as aforesaid, in which event this Security shall be void.

FURTHERMORE, it is understood and agreed that the execution of this Ad
interim Security by the undersigned shall be binding on St. Paul Fire & Marine
Insurance Company as aforesaid.

Dated: January { Y , 2011

St. Paul Fire & Marine insurance Company
ZC, Se La

Kéith Brady =
Director, MC-Liability <

STATE OF CONNECTICUT }
}ss.: Hartford
HARTFORD COUNTY )
On-this__/ 4 A day of January, 2011, before me personally came Keith
Brady, being by me duly sworn, did depose and say that he is a employed in the Boat
and Yacht unit of St. Paul Fire & Marine Insurance Company and that he executed the

foregoing Ad interim Security, and thgt he executed same pursuant to his powers and

duties.

ommissioner f the Superior Court
-PXPITES: _ BY COMMISSION EXPIRES MAY 31, 2012

Notary Phblic/
My Commnissi

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